           Case 1:19-cv-07814-VSB Document 43 Filed 10/15/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X
                                                          :                                  10/15/2020
SALUSTIANO SANABRIA,                                      :
                                                          :
                                        Plaintiff,        :
                                                          :               19-cv-7814 (VSB)
                      -against-                           :
                                                          :                    ORDER
ZADIG & VOLTAIRE-NEW YORK LLC,                            :
et al.,                                                   :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        It has been reported to the Court that the parties in this case have reached a settlement

agreement. (Doc. 42). Accordingly, it is hereby:

        ORDERED that the above-captioned action is discontinued without costs to any party

and without prejudice to restoring the action to this Court’s docket if the application to restore

the action is made within thirty (30) days.

SO ORDERED.

Dated: October 15, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
